UNION SECURITY CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Union Sec. Co. v. CommissionerDocket No. 22550.United States Board of Tax Appeals16 B.T.A. 1412; 1929 BTA LEXIS 2384; July 24, 1929, Promulgated *2384  Amounts credited to a "suspense account" for possible return to customers held income to the petitioner in the absence of any showing as to the amount of such items which could reasonable be expected to be returned to customers.  Marshall Solberg, Esq., and Jonathan Cook, Esq., for the petitioner.  Arthur Carnduff, Esq., for the respondent.  SIEFKIN*1412  This is a proceeding for the redetermination of a deficiency in income tax for the calendar year 1922 in the amount of $955.32.  The only issue involved is whether the respondent erred in adding to the petitioner's income for that year the sum of $8,126.28 which was credited to a subspense account on the books of the petitioner.  FINDINGS OF FACT.  Petitioner is an Illinois corporation with its principal office at Chicago.  During the year 1922, and prior years, it sold securities on the installment plan.  Certain of the petitioner's customers, for one reason or another, failed to complete payment on their installment contracts.  The amounts which had been paid on such contracts were credited to an account on the books of the petitioner called "suspense account" and were treated as*2385  a liability by the petitioner.  During the year 1922 the amount of such additions to the suspense account was $8,126.28 which the petitioner showed as a liability in making its return for income tax for the year 1922.  The respondent added the amount to income and determined the deficiency in question.  The addition of the amount to the suspense account was in accordance with a consistent policy of the petitioner to treat such amounts as payable on demand by the customer.  A typical contract with a customer is as follows: INSTALLMENT APPLICATION NO.  For shares of the J. L. Kraft &amp; Bros. Co. UNION SECURITY COMPANY 29 S. La Salle Street Chicago, Ill.Date GENTLEMEN: I, the undersigned, do hereby subscribe for and purchase, subject to acceptance at your Chicago Office, shares of 8% cumulative preferred stock, *1413  par value $100.00 each, and shares of the common stock, par value $5.00 each, of the J. L. KRAFT &amp; BROS. CO. and agree to pay therefor $100.00 for each and every share of the Preferred and $5.00 per share for each and every share of the common stock subscribed for as above, or a total of Dollars, payable one-fifth herewith and one-fifth monthly hereafter*2386  until the full amount is paid, at which time certificate of stock shall be sent to me.  I understand that all the conditions of our agreement are contained herein; that no Salesman has authority to make any representations at variance with any literature issued by you relating to said J. L. Kraft &amp; Bros. Co., that you reserve the right to reduce or reject this order and return any amount paid thereon and that this subscription becomes irrevocable by me after its acceptance by you.  Subscriber Address City State Salesman.The items debited to the suspense account included refunds made by the petitioner to the subscriber.  OPINION.  SIEFKIN: The petitioner contends that it is entitled to set up on its books a liability on account of installment payments made to it by customers purchasing stock, such customers having, for one reason or another, failed to carry out the contract of purchase.  The respondent, on the other hand, contends that the amount so added to the account during the year in question constituted income to the petitioner unless or until it was determined that the petitioner would have to repay the money to the customer.  *2387  The application for shares of stock signed by the customer makes no provision for forfeiture of the amounts paid and an officer of the petitioner testified that it was the company's consistent policy to return to customers the amount paid if demand was made for it or to make some sort of an adjustment on account of it.  He testified, however, that in the usual case this adjustment was made before the items ever reached the suspense account and that the items in that account were held pending settlement at some future time.  We are without detailed information or any sufficiently accurate information showing the experience of the petitioner as to the portion of the suspense items paid back to the customers.  The situation in that respect is far different from that considered by the Court of Claims in , where that court held that the taxpayer might set up a "returned bag liability" on account of cement bags which might be redeemed.  In that case the corporation had detailed information showing the percentage of bags redeemed and the Court of Claims permitted that percentage of the returned bag liability *1414 *2388  to be excluded from income.  In this proceeding we have no guide by which we can say that any portion of the amount added to the suspense account would ever be returned to the customers.  It follows that the Commissioner properly added the amount to the petitioner's income during the year 1922.  See . Judgment will be entered for the respondent.